             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 1 of 18


                              BEFORE THE UNITED STATES
                     JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



       IN RE: COVID-19 AIRFARE REFUND                    MDL No. 2957
       LITIGATION



                                          PROOF OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, I hereby certify that on July 2, 2020, I caused to be served a true and correct

copy of the foregoing Corporate Disclosure Form and Attached List of Actions upon the counsel listed

on the attached service list via Email.


DATED: July 2, 2020                                    Respectfully submitted,


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 2 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 3 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 4 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 5 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 6 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 7 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 8 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 9 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 10 of 18


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1103266v.1
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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 12 of 18


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                                                12

1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 13 of 18


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                                                 13

1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 14 of 18


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                                               14

1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 15 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 16 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 17 of 18


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1103266v.1
             Case CO/1:20-cv-01689 Document 5-2 Filed 07/02/20 Page 18 of 18


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1103266v.1
